                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

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ASSOCIATION OF COMMUNITY CANCER
CENTERS, et al.,

                     Plaintiffs,
                                                          Civil Action No. 1:20-cv-03531-CCB
       v.

ALEX M. AZAR II, in his official capacity as
Secretary of the U.S. Department of Health and
Human Services, et al.,

                  Defendants.
__________________________________________

UNOPPOSED MOTION OF AMERICAN SOCIETY OF CLINICAL ONCOLOGY FOR
  LEAVE TO FILE BRIEF AS AMICUS CURIAE IN SUPPORT OF PLAINTIFFS’
  MOTION FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY
                           INJUNCTION


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                                                 Attorneys for Amicus Curiae
        The American Society of Clinical Oncology (“ASCO”), through undersigned counsel,

respectfully moves the Court for leave to file a brief as amicus curiae in support of Plaintiffs’

Motion for a Temporary Restraining Order and Preliminary Injunction. The undersigned counsel

have consulted counsel for the parties in this matter, and they all consent to the filing of this brief.

A copy of amicus’s proposed brief is attached, together with a proposed order granting this motion.

        This brief has not been authored, in whole or in part, by counsel to any party in this case.

No party or counsel to any party contributed money intended to fund preparation or submission of

this brief. No person, other than the amicus, their members, or their counsel, contributed money

that was intended to fund preparation or submission of this brief.

                                  STATEMENT OF INTEREST

        ASCO represents U.S. health care professionals specializing in cancer treatment, diagnosis,

and prevention. Starting January 1, 2021, the ability of these health professionals to offer, and of

patients to access, such lifesaving cancer treatments will be in serious jeopardy. The recently

issued “Most Favored Nation” interim final rule, 85 Fed. Reg. 76,180 (Nov. 27, 2020) threatens to

bankrupt oncology practices and cut off Medicare cancer patients from the care they need.

Amicus’s proposed brief, attached to this motion as Exhibit A, expounds upon amicus’s acute

interest in the disposition of Plaintiffs’ motion to enjoin this rule.

                                            ARGUMENT

        District courts have discretion whether to grant or deny motions for leave to appear as

amicus curiae. Am. Humanist Ass’n v. Maryland-Nat’l Cap. Park & Plan. Comm’n, 303 F.R.D.

266, 269 (D. Md. 2014). “The aid of amici curiae has been allowed at the trial level where they

provide helpful analysis of the law, they have a special interest in the subject matter of the suit, or

existing counsel is in need of assistance.” Bryant v. Better Bus. Bureau of Greater Md., Inc., 923




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F. Supp. 720, 728 (D. Md. 1996) (internal citations omitted). Amicus’s proposed brief fulfills that

purpose.

       Amicus’s proposed brief, attached to this motion as Exhibit A, meets this standard by

presenting important perspective on the devastating impact of Defendant’s ultra vires interim final

rule improperly waiving the notice-and-comment will have on ASCO member oncology

practitioners and their patients. Amicus’s proposed brief further demonstrates why an injunction

preventing this unlawful government action is necessary now to prevent this immeasurable and

irreversible harm it is already causing, and presents this Court with relevant scientific and legal

authorities and arguments that are not included in other briefing materials.

                                         CONCLUSION

       For the foregoing reasons, amicus’s unopposed motion for leave to file the attached brief

should be granted.




                                                      Respectfully submitted,

Date: December 16, 2020                               /s/ Jonathan R. Ference-Burke
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